110 F.3d 60
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph RIDDICK, Plaintiff--Appellant,v.VIRGINIA DEPARTMENT OF CORRECTIONS, Defendant--Appellee.
    No. 96-7356.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 27, 1997.Decided April 2, 1997.
    
      Joseph Riddick, Appellant Pro Se.
      Before RUSSELL, LUTTIG, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing without prejudice his 42 U.S.C. § 1983 (1994) complaint.  The district court's dismissal without prejudice is not appealable at this time, given the fact that Appellant could save his complaint through amendment.  See Domino Sugar Corp. v. Sugar Workers' Local Union 392, 10 F.3d 1064, 1066-67 (4th Cir.1993).  This court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1994), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1994);  Fed.R.Civ.P. 54(b);  Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We deny Appellant's motion for oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    